                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:15-CR-218-MOC-DCK

 UNITED STATES OF AMERICA,                                 )
                                                           )
                                                           )
                                                           )
 Vs.                                                       )                 ORDER
                                                           )
 JOSEPH MICHAEL OSBORNE,                                   )
                                                           )
                       Defendant.                          )


        THIS MATTER is before the Court on Defendant’s pro se Motion to Reduce Sentence

Pursuant to 3582(c)(2), (Doc. No. 32), and on Defendant’s Motion to Appoint Counsel, (Doc.

No. 33). Defendant seeks a reduction in his sentence under Section 401 of the First Step Act of

2018, Pub. L. 115-391 (2018). The Government opposes the motion.

   I.      BACKGROUND AND DISCUSSION

   In September 2015, a federal grand jury charged Defendant with drug-trafficking, money-

laundering, and firearm offenses. A month later, Defendant entered into a plea agreement with

the United States, agreeing to plead guilty to conspiring to distribute and to possess with intent to

distribute methamphetamine, 21 U.S.C. §§ 841(a)(1), 846; transactional money laundering, 18

U.S.C. § 1957; and possessing a firearm in furtherance of a drug-trafficking offense, 18 U.S.C. §

924(c). (Doc. 1; Doc. 7 ¶ 1). The United States and Defendant later moved to dismiss the

money-laundering count against Defendant, and this Court granted the parties’ motion. (Doc.

Nos. 14, 15).




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       In March 2016, this Court sentenced Defendant to 180 months in prison for the drug-

trafficking offense and to a consecutive term of 60 months in prison for the section 924(c)

firearm offense — an aggregate sentence of 240 months in prison. (Doc. No. 29 at 1–2).

       On December 21, 2018, Congress enacted the First Step Act. 132 Stat. 5194 (2018).

Section 401 of that Act alters the predicate convictions that trigger enhanced statutory minimums

and maximums under 21 U.S.C. § 841(b)(1)(A), 21 U.S.C. § 841(b)(1)(B), 21 U.S.C. §

960(b)(1), and 21 U.S.C. § 960(b)(2). Id. at 5220–21. These enhancements now apply if the

United States proves that a defendant committed the offense after at least one prior conviction

for a “serious drug felony” or “serious violent felony” has become final. Id. Each of these terms

is defined, in part, as an offense for which the defendant “served a term of imprisonment of more

than 12 months.” Id. at 5220. Additionally, a “serious drug felony” is defined as an offense for

which the defendant was “release[d] from any term of imprisonment . . . within 15 years of the

commencement of the instant offense.” Id. Importantly, Section 401(c) provides that these

amendments “shall apply to any offense that was committed before the date of the enactment of

[the First Step] Act, if a sentence for the offense has not been imposed as of such date of

enactment.” Id. at 5221.

       Defendant seeks a reduction in his sentence based on the amendments to 21 U.S.C. §

841(b)(1) made in section 401 of the First Step Act. This Court sentenced Defendant in March

2016, more than two-and-a-half years before Congress enacted the First Step Act. Under the

plain terms of section 401(c), Defendant is not eligible to receive the benefits of Section 401.

Thus, Defendant’s motion will be denied. Furthermore, Defendant’s motion to appoint counsel

is denied, as Defendant does not have a constitutional right to counsel in bringing a post-

conviction motion pursuant to the First Step Act.



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                                         ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Reduce Sentence Pursuant

to 3582(c)(2), (Doc. No. 32), and Defendant’s Motion to Appoint Counsel, (Doc. No. 33), are both

DENIED.



                                          Signed: January 9, 2021




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